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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Vioxxe MDL Docket No. 1657
PRODUCTS LIABILITY SECTION L
LITIGATION

JUDGE FALLON
This document relates to:

MAGISTRATE JUDGE
Bill Black, et-al. v. Merek & Co., inc., KNOWLES

Docket Number: 2:05-cv-4452; and only
regarding Bethel Anzalone, Thomas N.
Arnold, Glenda Bibbins, Dottie
Breedlove, Albert Doucet, Jr., Sharon
Everett, Frank Harvey, Breelin Johnson,
Floyd Jones, Florence Minter, Clenis
Monette, Brenetha Robinson, Emile
Russell, Rodney Teal, and David White
Sr.

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STIPULATION OF DISMISSAL WITHOUT PREJUDICE

Plaintiffs, Bethel Anzalone, Thomas N. Arnold, Glenda Bibbins, Dottie Breedlove,
Albert Doucet, Jr., Sharon Everett, Frank Harvey, Breelin Johnson, Floyd Jones, Florence
Minter, Clenis Monette, Brenetha Robinson, Emile Russell, Rodney Teal, and David White Sr.
and Defendant, Merck & Co., Inc. hereby stipulate, pursuant to Fed. R. Civ. Proc. 41(a)(1), to a
dismissal without prejudice all of their respective claims against Merck & Co., Inc. in the above-
styled lawsuits, each party to bear its own costs, subject to the following conditions:

1. Bethel Anzalone, Thomas N. Arnold, Glenda Bibbins, Dottie Breedlove, Albert
Doucet, Jr., Sharon Everett, Frank Harvey, Breelin Johnson, Floyd Jones, Florence Minter,

Clenis Monette, Brenetha Robinson, Emile Russell, Rodney Teal, and David White Sr. agree

that, in the event they or a representative on their behalf re-file a lawsuit against Merck that

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contains claims relating to Vioxx®, they will so do only in the United States District Court in the
Eastern District of Louisiana, without joining any parties whose joinder would defeat diversity
jurisdiction pursuant to 28 U.S.C. § 1332, and shall not oppose transfer to MDL 1657; and

2. Plaintiffs further agree that in the event they re-file such lawsuit, any discovery
that has taken place or will take place in Jn re: Vioxx® Products Liab. Litig. (MDL-1657), the
MDL proceeding that has been established in the United States District Court for the Eastern
District of Louisiana, and that is not specific to a particular plaintiff, can be used in any such
lawsuit re-filed by said plaintiff, as though they had been a party and had had an opportunity to
participate in that discovery.

3, Further, in compliance with Pre-Trial Order No. 8B, undersigned counsel hereby
certify that as soon as the Order of Dismissal is entered by the Court Defendants’ Liaison
Counsel will make the change directly on File & Serve to reflect the dismissal without prejudice
of the claims of these Plaintiffs against Merck & Co., Inc., in the above-captioned case.

4. The claims of the remaining plaintiffs shall remain in full force and effect.

Respectfully submitted,
ROBERT) SALIM

Robert L. Salim, (#11663)
Attorney at Law

1762 Texas Street
Natchitoches, LA 71457
Phone: 318-352-5999

Counsel for Plaintiffs, Bethel Anzalone, et al.

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal Without
Prejudice has been served on Liaison Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail
and e-mail or by hand delivery and e-mail and upon all parties by electronically uploading the
same to LexisNexis File & Serve Advanced in accordance with Pre-Trial Order No. 8B, and that
the foregoing was electronically filed with the Clerk of Court of the United States District Court
for the Eastern District of Louisiana by using the CM/ECF system which will send a Notice of

Electronic Filing in accord with the procedures established in MDL 1657, on this Z a day of

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OF COUNSE fe

